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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


                              CASE NO.: 8:22-cv-01270-KKM-AEP

WINDY LUCIUS,

        Plaintiff,
v.

ON SWANN, LLC

      Defendant.
__________________________________/

                      NOTICE OF SETTLEMENT FOR ALL PARTIES

        Plaintiff, WINDY LUCIUS (“Plaintiff”), hereby files this Notice of Settlement, and

informs the Court as follows:


     1. Plaintiff has reached an agreement with Defendant, ON SWANN, LLC (“Defendant”) to

        resolve her claims against them.

     2. The parties are in the process of finalizing a confidential settlement agreement, and

        Plaintiff will be filing a Stipulation of Dismissal with the Court shortly.



                                               Respectfully submitted,
                                               /s/ J. Courtney Cunningham
                                               J. Courtney Cunningham, Esq.
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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 11, 2022, I electronically filed the foregoing document
with the Clerk of the Court using the CM/ECF system.

                                          /s/ J. Courtney Cunningham
                                          J. Courtney Cunningham, Esq.




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